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10   *to seek admission pro hac vice
11                  IN THE UNITED STATES DISTRICT COURT
12
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   Delia Aikens, on behalf of herself and )        Case No.
     others similarly situated,             )
14                                          )        PLAINTIFF’S CLASS ACTION
     Plaintiff,                             )        COMPLAINT
15
                                            )
16          vs.                             )        JURY TRIAL DEMANDED
                                            )
17   Malcolm Cisneros, A Law Corporation, )
                                            )
18
     Defendant.                             )
19   ________________________________ )

20

21
                                    Nature of this Action

22         1.     Pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331, and 28 U.S.C. §

23   1367(a), this Court has jurisdiction over this class action under the federal Fair Debt
24

25
                                   Plaintiff’s Class Action Complaint
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1    Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Rosenthal
2
     Fair Debt Collection Practices Act (“Rosenthal Act”), Cal. Civ. Code, § 1788 et seq.
3
           2.      Delia Aikens (“Plaintiff”) alleges that Malcolm Cisneros, A Law
4
     Corporation (“Defendant”) failed to properly provide her with disclosures required
5

6    by 15 U.S.C. § 1692g, utilized false threats of foreclosure proceedings in its debt

7    collection communications to attempt to extract payment from her on the alleged
8    debt, and used deceptive and unfair means to attempt to collect that debt.
9
           3.      Venue is proper in this Court under 28 U.S.C. § 1391(b), as the acts and
10
     transactions giving rise to Plaintiff’s action transpired in this district, and as
11

12
     Defendant transacts business in this district.

13                                            Parties

14         4.      Plaintiff is a natural person who at all relevant times resided in
15
     Riverside County, California.
16
           5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
17
           6.      Defendant is a law corporation that maintains offices in Orange County,
18

19   California.

20         7.      Defendant uses instrumentalities of interstate commerce or the mails in
21
     a business the principal purpose of which is the collection of any debts, and/or to
22
     regularly collect or attempt to collect, directly or indirectly, debts owed or due, or
23
     asserted to be owed or due, another.
24

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1          8.     Defendant was at all relevant times engaged in the business of
2
     attempting to collect from Plaintiff a “debt” as defined by 15 U.S.C. § 1692a(5).
3
           9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and
4
     Cal. Civ. Code § 1788.2(c).
5

6                                     Factual Allegations

7          10.    Plaintiff is obligated, or allegedly obligated, to pay a debt now owed or
8    due, or asserted to be owed or due, a creditor other than Defendant—namely,
9
     Panatte, LLC (“Panatte”).
10
           11.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to
11

12
     be owed or due Panatte arises from transactions in which the money, property,

13   insurance, or services that are the subject of the transactions were incurred primarily

14   for personal, family, or household purposes—specifically, a home equity loan
15
     secured for personal, family, or household expenses.
16
           12.    Upon information and belief, at the time Panatte employed Defendant
17
     to collect the alleged debt from Plaintiff, the debt was in default, or Defendant treated
18

19   the debt as if it were in default from the time that Defendant acquired it for collection.

20         13.    Congress enacted the FDCPA in 1977 to “eliminate abusive debt
21
     collection practices by debt collectors.” 15 U.S.C. § 1692(e).
22
           14.    It did so in response to “the use of abusive, deceptive, and unfair debt
23
     collection practices by many debt collectors,” which contributes “to the number of
24

25
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1    personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of
2
     individual privacy.” Id., § 1692(a).
3
           15.    Recently, the Consumer Financial Protection Bureau (“CFPB”)—the
4
     federal agency tasked with enforcing the FDCPA—explained: “Harmful debt
5

6    collection practices remain a significant concern today. The Bureau receives more

7    consumer complaints about debt collection practices than about any other issue.” See
8    Brief for the CFPB as Amicus Curiae, ECF No. 14, p. 2, Hernandez v. Williams,
9
     Zinman, & Parham, P.C., No. 14-15672 (9th Cir. Aug. 20, 2014),
10
     http://www.ftc.gov/system/files/documents/amicus_briefs/hernandez-v.williams-
11

12
     zinman-parham-p.c./140821briefhernandez1.pdf.

13         16.    Of these complaints about debt collection practices, over one-third

14   relate to debt collectors’ attempts to collect debts that consumers do not owe. See
15
     Consumer Financial Protection Bureau, Fair Debt Collection Practices Act—CFPB
16
     Annual Report 2016 at 16-17 (2016), https://www.consumerfinance.gov/data-
17
     research/research-reports/fair-debt-collection-practices-act-annual-report-2016/.
18

19         17.    To combat this problem, the FDCPA requires that debt collectors send

20   consumers “validation notices” containing certain information about their alleged
21
     debts and related rights “[w]ithin five days after the initial communication with a
22
     consumer in connection with the collection of any debt,” unless the required
23

24

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1    information was “contained in the initial communication or the consumer has paid
2
     the debt.” 15 U.S.C. § 1692g(a).
3
           18.    “[T]his validation requirement was a ‘significant feature’ of the law that
4
     aimed to ‘eliminate the recurring problem of debt collectors dunning the wrong
5

6    person or attempting to collect debts which the consumer has already paid.’”

7    Hernandez, No. 14-15672, ECF No. 14 at 5 (quoting S. Rep. No. 95-382, at 4
8    (1977)).
9
           19.    On October 4, 2017, Defendant mailed to Plaintiff a communication
10
     with the heading “NOTICE OF INTENT TO FORECLOSE” and referencing an
11

12
     account number and property address purportedly subject to an impending

13   foreclosure action.

14         20.    A true and correct copy of Defendant’s October 4, 2017 letter is
15
     attached as Exhibit A.
16
           21.    Defendant’s October 4, 2017 communication to Plaintiff was its initial
17
     communication to her.
18

19         22.    The October 4, 2017 letter goes on to state:

20         This notice is to inform you that you have defaulted in your obligations
           under the terms of a Note and Deed of Trust (Security Instrument) on
21
           the above-referenced Property. Under the terms of your Loan, as
22         evidenced by written Note and secured by the Deed of Trust, Malcolm
           Cisneros, A Law Corporation hereby notifies you on behalf of
23         PANATTE, LLC of the following:
24

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1          PANATTE, LLC is the holder of the Note and Beneficiary under the
           Deed of Trust dated April 3, 2006, executed by Delia E. Aikens, an
2
           unmarried woman to secure obligations in favor of Mortgage Electronic
3          Registration Systems, Inc. as nominee of Homecomings Financial
           Network, Inc., succeeded by PANATTE, LLC, as Beneficiary, and
4          recorded on April 14, 2006 as Instrument No. 2006-0269902 in the
           Official Records of Riverside County, California.
5

6    See Ex. A.

7          23.    The letter further adds:
8          This amount [due] is $65,262.58 (not including foreclosure fees and
9          costs) as of October 4, 2017 and will increase until your account
           becomes current. This total plus any payments, late charges, fees,
10         insurance advances, or delinquent taxes due must be paid within 30
           days from the date of this notice. Partial payments are not acceptable.
11
     Id.
12
           24.    Later, Defendant’s October 4, 2017 letter advises, simply, “If you have
13

14   any reason to dispute the past-due amount listed above, or if you believe your Loan

15   is current, please contact us at the number provided below.” Id.
16         25.    The October 4, 2017 letter then threatens:
17
           If you fail to cure the default within 30 days from the date of this notice,
18         PANATTE, LLC will accelerate the maturity of the Loan, terminate
           your credit line if the Loan provides for revolving advances, declare all
19         sums secured by the Security Instrument immediately due and payable,
20
           and commence foreclosure proceedings, all without further notice to
           you. If this happens, PANATTE, LLC will be entitled to collect its
21         expenses incurred in pursuing the remedies provided in the Security
           Instrument, which may include, but not be limited to, allowable
22         foreclosure/attorney fees, and other expenses permitted by applicable
           law.
23

24
     Id.

25
                                   Plaintiff’s Class Action Complaint
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26
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1          26.    What’s more, at the bottom of each page of Defendant’s October 4,
2
     2017 letter is a statement that “PANATTE, LLC would like to avoid acceleration
3
     and foreclosure if possible. Please contact Josh Ross at PANATTE, LLC at (844)
4
     736-7531 to discuss payment options to settle this matter and avoid foreclosure of
5

6    your home.” Id.

7          27.    Defendant’s October 4, 2017 initial communication to Plaintiff did not
8    properly provide the disclosures required by 15 U.S.C. § 1692g(a).
9
           28.    In particular, the October 4, 2017 letter did not include a statement that
10
     unless Plaintiff, within thirty days after receipt of the notice, disputes the validity of
11

12
     the debt, or any portion thereof, the debt will be assumed to be valid by Defendant,

13   as required by 15 U.S.C. § 1692g(a)(3).

14         29.    Nor did the October 4, 2017 letter include a statement that if Plaintiff
15
     notifies Defendant in writing within the thirty-day period that the debt, or any portion
16
     thereof, is disputed, Defendant will obtain verification of the debt or a copy of a
17
     judgment against Plaintiff and a copy of such verification or judgment will be mailed
18

19   to her by Defendant, as required by 15 U.S.C. § 1692g(a)(4).

20         30.    Nor did the October 4, 2017 letter include a statement that, upon
21
     Plaintiff’s written request within the thirty-day period, Defendant will provide her
22
     with the name and address of the original creditor, if different from the current
23
     creditor, as required by 15 U.S.C. § 1692g(a)(5).
24

25
                                    Plaintiff’s Class Action Complaint
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1           31.    Defendant did not provide the foregoing disclosures within five days of
2
     its initial October 4, 2017 communication.
3
            32.    To be sure, Defendant sent Plaintiff another communication dated
4
     October 5, 2017, which is attached as Exhibit B and is materially identical to the
5

6    October 4, 2017 letter except for the “Certified Mail No.” included on the final page

7    of each. Compare Ex. A with Ex. B.
8           33.    The October 5, 2017 letter fails to provide the requisite § 1692g(a)
9
     disclosures omitted from the October 4, 2017 letter.
10
            34.    Defendant further contravened the FDCPA by way of its October 4 and
11

12
     5, 2017 letters for threatening to take an action that was not intended to be taken, in

13   violation of 15 U.S.C. § 1692e(5).

14          35.    That is, by way of the two letters, Defendant made multiple threats to
15
     initiate foreclosure proceedings on Plaintiff’s property if she did not pay the alleged
16
     debt in full. See generally Exs. A, B.
17
            36.    However, by subsequent letter dated October 13, 2017, attached as
18

19   Exhibit C, Panatte informed Plaintiff that Defendant’s October 4 and 5 letters had

20   been “sent in error” and that Panatte “will not be foreclosing on the property” listed
21
     in the prior letters.
22

23

24

25
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1          37.    Correspondingly, by Panatte’s own admission, Defendant’s prior
2
     threats of foreclosure—what had been sent at Panatte’s behest—were hollow, and
3
     thus false and deceptive, in violation of the FDCPA. See Ex. C.
4
           38.    Moreover, by demanding payment of $65,262.58 “plus any payments,
5

6    late charges, fees, insurance advances, or delinquent taxes due,” Exs. A, B, without

7    simultaneously explaining or disclosing the nature of any such payments, charges,
8    fees, advances, or taxes, Defendant used false, deceptive, and unfair means to
9
     attempt to collect the alleged debt from Plaintiff.
10
           39.    That is, Defendant’s oblique reference to some unknown “payments,
11

12
     late charges, fees, insurance advances, or delinquent taxes due” without any further

13   explanation would leave any consumer, let alone the least sophisticated consumer,

14   guessing as to what she actually owed on the alleged debt, rendering its debt
15
     collection efforts false, deceptive, misleading, and unfair under the statute.
16
           40.    Defendant’s October 4 and 5, 2017 letters thus additionally violated the
17
     FDCPA at 15 U.S.C. § 1692e(2)(A), § 1692e(10), and § 1692f.
18

19         41.    Upon information and good faith belief, Defendant’s October 4 and 5,

20   2017 letters to Plaintiff were based upon form templates utilized for Defendant’s
21
     communications with California consumers generally.
22

23

24

25
                                   Plaintiff’s Class Action Complaint
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1                                        Class Allegations
2
           42.      Plaintiff brings this action under Rule 23(b)(3) of the Federal Rules of
3
     Civil Procedure on behalf of herself and others similarly situated.
4
           43.      Plaintiff seeks to represent three classes:
5

6                Disclosure Class: All persons (a) with a California address, (b)
                 to whom Malcolm Cisneros, A Law Corporation mailed an initial
7                debt collection communication, (c) within the year preceding the
                 date of this complaint, (d) in connection with the collection of a
8                consumer debt, (e) that failed to provide: (i) a statement that
9                unless the consumer, within thirty days after receipt of the notice,
                 disputes the validity of the debt, or any portion thereof, the debt
10               will be assumed to be valid by the debt collector; or (ii) a
                 statement that if the consumer notifies the debt collector in
11               writing within the thirty-day period that the debt, or any portion
12
                 thereof, is disputed, the debt collector will obtain verification of
                 the debt or a copy of a judgment against the consumer and a copy
13               of such verification or judgment will be mailed to the consumer
                 by the debt collector; or (iii) a statement that, upon the
14               consumer’s written request within the thirty-day period, the debt
                 collector will provide the consumer with the name and address
15
                 of the original creditor, if different from the current creditor.
16
                 False Threat Class: All persons (a) with a California address, (b)
17               to whom Malcolm Cisneros, A Law Corporation mailed a debt
                 collection communication, (c) within the year preceding the date
18
                 of this complaint, (d) in connection with the collection of a
19               consumer debt, (e) with a title of “Notice of Intent to Foreclose,”
                 (f) but to whom Malcolm Cisneros, A Law Corporation or
20               Panatte, LLC subsequently mailed a communication indicating
                 that the initial debt collection communication had been sent in
21
                 error and that Panatte, LLC would not be foreclosing on the
22               subject property.

23               Fees Class: All persons (a) with a California address, (b) to
                 whom Malcolm Cisneros, A Law Corporation mailed a debt
24               collection communication, (c) within the year preceding the date
25
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1                 of this complaint, (d) in connection with the collection of a
                  consumer debt, (e) that stated: “This total plus any payments, late
2
                  charges, fees, insurance advances, or delinquent taxes due must
3                 be paid within 30 days from the date of this notice.”

4           44.      Excluded from the proposed classes are Defendant, its officers and
5
     directors, members of their immediate families and their legal representatives, heirs,
6
     successors, or assigns, and any entity in which Defendant has or had controlling
7
     interests.
8

9           45.      Upon information and good faith belief, the proposed classes are so

10   numerous that joinder of all members is impracticable.
11          46.      The exact number of the members of the proposed classes are unknown
12
     at this time, but can, upon information and good faith belief, be determined through
13
     appropriate discovery.
14
            47.      Upon information and good faith belief, the proposed classes are
15

16   ascertainable in that the names and addresses of all members of the proposed classes

17   can be identified by Defendant’s and Panatte’s business records.
18
            48.      There exists a well-defined community of interest in questions of law
19
     and fact that affect all members of the proposed classes.
20
            49.      Common questions of law and fact predominate over questions that
21

22   may affect individual members of the proposed classes.

23          50.      These common questions of law and fact include, but are not limited to:
24

25
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1                • Whether Defendant’s initial debt collection communications fail to
                   contain disclosures required by the FDCPA;
2

3                • Whether Defendant’s debt collection communications are false,
                   deceptive, and misleading in threatening to take actions Defendant does
4                  not intend to take;
5
                 • Whether Defendant’s debt collection communications are false,
6                  deceptive, and misleading in demanding payment for unknown
                   “payments, late charges, fees, insurance advances, or delinquent taxes”;
7

8
                 • Whether Defendant is a “debt collector” as defined by the FDCPA;

9                • The availability of statutory penalties under the FDCPA and Rosenthal
                   Act;
10

11               • The availability of attorneys’ fees under the FDCPA and Rosenthal Act;
                   and
12
                 • The availability of costs under the FDCPA and Rosenthal Act.
13

14         51.      Plaintiff’s claims are typical of those of the members of the proposed

15   classes.
16         52.      Plaintiff’s claims, and the claims of the members of the proposed
17
     classes, originate from the same conduct, practice, and procedure on the part of
18
     Defendant.
19
           53.      If brought and prosecuted individually, the claims of each member of
20

21   the proposed classes would require proof of the same material and substantive facts.

22         54.      Plaintiff possesses the same interests and has suffered the same injuries
23
     as the members of the proposed classes.
24

25
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1          55.    Plaintiff asserts identical claims, and seeks the same relief, for both
2
     herself and the members of the proposed classes.
3
           56.    Plaintiff will fairly and adequately protect the interests of the members
4
     of the proposed classes.
5

6          57.    Plaintiff has no interest that directly and irrevocably conflicts with the

7    interests of other members of the proposed classes.
8          58.    Plaintiff is willing and prepared to serve this Court and the members of
9
     the proposed classes.
10
           59.    Plaintiff’s interests are co-extensive with, and not directly antagonistic
11

12
     to, those of the members of the proposed classes.

13         60.    Plaintiff has retained the services of counsel who are experienced in

14   both consumer protection claims and complex class action litigation.
15
           61.    Plaintiff’s counsel will vigorously prosecute this action, and will
16
     protect and otherwise represent both Plaintiff and all absent members of the
17
     proposed classes.
18

19         62.    The prosecution of separate actions by individual members of the

20   proposed classes may create a risk of inconsistent or varying adjudications with
21
     respect to individual members of the proposed classes, which could establish
22
     incompatible standards of conduct for Defendant.
23

24

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1          63.      These incompatible standards of conduct and varying adjudications, on
2
     what would necessarily be the same essential facts, proof, and legal theories, could
3
     also create and allow the existence of inconsistent and incompatible rights within the
4
     proposed classes.
5

6          64.      Class certification is appropriate under Rule 23(b)(3) in that the

7    questions of law and fact that are common to members of the proposed classes
8    predominate over any questions affecting only individual members of the proposed
9
     classes.
10
           65.      A class action is superior to other methods for the fair and efficient
11

12
     adjudication of the controversies raised in this complaint in that:

13               • Individual members of the proposed classes are unlikely to have an
                   interest in prosecuting and controlling separate individual actions; and
14

15               • The concentration of litigation of these claims in one forum will achieve
                   efficiency and promote judicial economy.
16
                                            Count I
17                            Violation of 15 U.S.C. § 1692g(a)(3)
18
           66.      Plaintiff incorporates the factual allegations contained in paragraphs 1
19
     through 65 above.
20
           67.      The FDCPA at section 1692g(a) provides:
21

22         Within five days after the initial communication with a consumer in
           connection with the collection of any debt, a debt collector shall, unless
23         the following information is contained in the initial communication or
           the consumer has paid the debt, send the consumer a written notice
24
           containing—
25
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1
              (1) the amount of the debt;
2

3             (2) the name of the creditor to whom the debt is owed;

4             (3) a statement that unless the consumer, within thirty days after
                  receipt of the notice, disputes the validity of the debt, or any
5
                  portion thereof, the debt will be assumed to be valid by the debt
6                 collector;

7             (4) a statement that if the consumer notifies the debt collector in
                  writing within the thirty-day period that the debt, or any portion
8                 thereof, is disputed, the debt collector will obtain verification of
9                 the debt or a copy of a judgment against the consumer and a copy
                  of such verification or judgment will be mailed to the consumer
10                by the debt collector; and
11            (5) a statement that, upon the consumer’s written request within the
12
                  thirty-day period, the debt collector will provide the consumer
                  with the name and address of the original creditor, if different
13                from the current creditor.

14   15 U.S.C. § 1692g(a).
15
           68.    The October 4, 2017 communication was Defendant’s initial
16
     communication to Plaintiff.
17
           69.    The October 4, 2017 communication did not contain the proper
18

19   disclosures required by 15 U.S.C. § 1692g(a)(3), nor did Defendant provide such

20   disclosures within five days thereafter.
21
           70.    Specifically, the October 4, 2017 communication failed to notify
22
     Plaintiff that unless she disputed the alleged debt within 30 days of receipt of the
23
     letter, Defendant would assume the debt to be valid. See Ex. A.
24

25
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1          71.       As a result, Defendant violated 15 U.S.C. § 1692g(a)(3).
2
           72.       The harm suffered by Plaintiff is particularized in that the violative
3
     initial debt collection letter at issue was sent to her personally, regarded her personal
4
     alleged debt, and failed to give her statutorily-mandated disclosures to which she
5

6    was entitled.

7          73.       Likewise, Defendant’s actions created a concrete harm in that they
8    constituted a debt collection practice that Congress prohibited because such practice
9
     is likely to mislead consumers, causing them to misunderstand their rights and to not
10
     vindicate the protections afforded them by federal law. In addition, Defendant’s
11

12
     actions invaded a specific private right created by Congress, and the invasion of said

13   right creates the risk of real harm.

14                                           Count II
                               Violation of 15 U.S.C. § 1692g(a)(4)
15

16         74.       Plaintiff incorporates the factual allegations contained in paragraphs 1

17   through 65 above.
18
           75.       The FDCPA at section 1692g(a) provides, in pertinent part:
19
           Within five days after the initial communication with a consumer in
20         connection with the collection of any debt, a debt collector shall, unless
           the following information is contained in the initial communication or
21
           the consumer has paid the debt, send the consumer a written notice
22         containing—

23                                          *        *       *
24

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1                (4) a statement that if the consumer notifies the debt collector in
                     writing within the thirty-day period that the debt, or any portion
2
                     thereof, is disputed, the debt collector will obtain verification of
3                    the debt or a copy of a judgment against the consumer and a copy
                     of such verification or judgment will be mailed to the consumer
4                    by the debt collector; and
5
                                             *        *       *
6
     15 U.S.C. § 1692g(a)(4).
7
           76.       The October 4, 2017 communication was Defendant’s initial
8

9    communication to Plaintiff.

10         77.       The October 4, 2017 communication did not contain the proper
11   disclosures required by 15 U.S.C. § 1692g(a)(4), nor did Defendant provide such
12
     disclosures within five days thereafter.
13
           78.       Specifically, the October 4, 2017 communication failed to include any
14
     disclosure that if Plaintiff provided written notice that the alleged debt, or any
15

16   portion thereof, is disputed, Defendant would obtain verification of the alleged debt

17   or a copy of a judgment against Plaintiff, and a copy of such verification or judgment
18
     would be mailed to her by Defendant. See Ex. A.
19
           79.       As a result, Defendant violated 15 U.S.C. § 1692g(a)(4).
20
           80.       The harm suffered by Plaintiff is particularized in that the violative
21

22   initial debt collection letter at issue was sent to her personally, regarded her personal

23   alleged debt, and failed to give her statutorily-mandated disclosures to which she
24   was entitled.
25
                                      Plaintiff’s Class Action Complaint
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1          81.      Likewise, Defendant’s actions created a concrete harm in that they
2
     constituted a debt collection practice that Congress prohibited because such practice
3
     is likely to mislead consumers, causing them to misunderstand their rights and to not
4
     vindicate the protections afforded them by federal law. In addition, Defendant’s
5

6    actions invaded a specific private right created by Congress, and the invasion of said

7    right creates the risk of real harm.
8                                          Count III
9                             Violation of 15 U.S.C. § 1692g(a)(5)

10         82.      Plaintiff incorporates the factual allegations contained in paragraphs 1
11   through 65 above.
12
           83.      The FDCPA at section 1692g(a) provides, in pertinent part:
13
           Within five days after the initial communication with a consumer in
14         connection with the collection of any debt, a debt collector shall, unless
           the following information is contained in the initial communication or
15
           the consumer has paid the debt, send the consumer a written notice
16         containing—

17                                          *       *       *
18
                 (5) a statement that, upon the consumer’s written request within the
19                   thirty-day period, the debt collector will provide the consumer
                     with the name and address of the original creditor, if different
20                   from the current creditor.
21
     15 U.S.C. § 1692g(a)(5).
22
           84.      The October 4, 2017 communication was Defendant’s initial
23
     communication to Plaintiff.
24

25
                                    Plaintiff’s Class Action Complaint
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1          85.       The October 4, 2017 communication did not contain the proper
2
     disclosures required by 15 U.S.C. § 1692g(a)(5), nor did Defendant provide such
3
     disclosures within five days thereafter.
4
           86.       Specifically, the October 4, 2017 communication failed to notify
5

6    Plaintiff that upon her written request within the thirty-day period, Defendant will

7    provide her with the name and address of the original creditor, if different from the
8    current creditor. See Ex. A.
9
           87.       As a result, Defendant violated 15 U.S.C. § 1692g(a)(5).
10
           88.       The harm suffered by Plaintiff is particularized in that the violative
11

12
     initial debt collection letter at issue was sent to her personally, regarded her personal

13   alleged debt, and failed to give her statutorily-mandated disclosures to which she

14   was entitled.
15
           89.       Likewise, Defendant’s actions created a concrete harm in that they
16
     constituted a debt collection practice that Congress prohibited because such practice
17
     is likely to mislead consumers, causing them to misunderstand their rights and to not
18

19   vindicate the protections afforded them by federal law. In addition, Defendant’s

20   actions invaded a specific private right created by Congress, and the invasion of said
21
     right creates the risk of real harm.
22

23

24

25
                                     Plaintiff’s Class Action Complaint
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26
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1                                         Count IV
                              Violation of 15 U.S.C. § 1692e(5)
2
           90.    Plaintiff incorporates the factual allegations contained in paragraphs 1
3

4    through 65 above.

5          91.    The FDCPA at section 1692e(5) provides:
6
           A debt collector may not use any false, deceptive, or misleading
7          representation or means in connection with the collection of any debt.
           Without limiting the general application of the foregoing, the following
8          conduct is a violation of this section:
9
                                           *        *       *
10
           (5) The threat to take any action that cannot legally be taken or that is
11         not intended to be taken.
12   15 U.S.C. § 1692e(5).
13
           92.    Defendant mailed to Plaintiff two communications, one dated October
14
     4, 2017 and the other October 5, 2017, that included multiple threats of the institution
15

16
     of foreclosure proceedings on Plaintiff’s subject property unless she paid her alleged

17   debt in full. See Exs. A, B.

18         93.    However, less than two weeks later, Panatte mailed a letter to Plaintiff
19
     dated October 13, 2017 explaining that Defendant’s October 4 and 5, 2017 letters
20
     had been “sent in error.” Ex. C.
21
           94.    Panatte further assured Plaintiff that it “will not be foreclosing on the
22

23   property” identified in Defendant’s letters. Id.

24

25
                                    Plaintiff’s Class Action Complaint
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26
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1          95.      Thus, Defendant’s earlier threats to foreclose on Plaintiff’s property
2
     were illusory, and accordingly false and deceptive, given Panatte’s admission that
3
     those threats had been “sent in error” and that it would not be instituting foreclosure
4
     proceedings.
5

6          96.      As a result, Defendant violated 15 U.S.C. § 1692e(5).

7          97.      The harm suffered by Plaintiff is particularized in that the violative debt
8    collection letters at issue were sent to her personally, regarded her personal alleged
9
     debt, and utilized false threats specific to her subject property.
10
           98.      Likewise, Defendant’s actions created a concrete harm in that they
11

12
     constituted a debt collection practice that Congress prohibited because such practice

13   is likely to mislead consumers. In addition, Defendant’s actions invaded a specific

14   private right created by Congress, and the invasion of said right creates the risk of
15
     real harm.
16
                                            Count V
17                            Violation of 15 U.S.C. § 1692e(2)(A)
18         99.      Plaintiff incorporates the factual allegations contained in paragraphs 1
19
     through 65 above.
20
           100. The FDCPA at section 1692e(2)(A) provides:
21
           A debt collector may not use any false, deceptive, or misleading
22
           representation or means in connection with the collection of any debt.
23         Without limiting the general application of the foregoing, the following
           conduct is a violation of this section:
24

25
                                     Plaintiff’s Class Action Complaint
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26
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1                                          *        *       *
2
           (2) The false representation of—
3
               (A) the character, amount, or legal status of any debt
4
     15 U.S.C. § 1692e(2)(A).
5

6          101. Defendant mailed to Plaintiff two communications, one dated October

7    4, 2017 and the other October 5, 2017, that included identical demands for payment
8    of $65,262.58 “plus any payments, late charges, fees, insurance advances, or
9
     delinquent taxes due” “within 30 days from the date of th[e] notice[s].” See Exs. A,
10
     B.
11

12
           102. Defendant’s letters went on to state, “Partial payments are not

13   acceptable.” See Exs. A, B.

14         103. Because Defendant’s communications to Plaintiff failed to further
15
     explain any such payments, charges, fees, advances, or taxes allegedly owed—let
16
     alone provide any sort of accounting for their amounts—the letters leave the least
17
     sophisticated consumer to guess as to what is actually owed on the alleged debt
18

19   Defendant sought to collect.

20         104. Thus, Defendant’s communications falsely represented the character
21
     and amount of Plaintiff’s alleged debt.
22
           105. As a result, Defendant violated 15 U.S.C. § 1692e(2)(A).
23

24

25
                                    Plaintiff’s Class Action Complaint
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26
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1          106. The harm suffered by Plaintiff is particularized in that the violative debt
2
     collection letters at issue were sent to her personally, regarded her personal alleged
3
     debt, and falsely represented the character and amount of her own alleged debt.
4
           107. Likewise, Defendant’s actions created a concrete harm in that they
5

6    constituted a debt collection practice that Congress prohibited because such practice

7    is likely to mislead consumers. In addition, Defendant’s actions invaded a specific
8    private right created by Congress, and the invasion of said right creates the risk of
9
     real harm.
10
                                           Count VI
11                            Violation of 15 U.S.C. § 1692e(10)
12         108. Plaintiff incorporates the factual allegations contained in paragraphs 1
13
     through 65 above.
14
           109. The FDCPA at section 1692e(10) provides:
15

16
           A debt collector may not use any false, deceptive, or misleading
           representation or means in connection with the collection of any debt.
17         Without limiting the general application of the foregoing, the following
           conduct is a violation of this section:
18
                                          *        *       *
19

20         (10) The use of any false representation or deceptive means to collect
           or attempt to collect any debt or to obtain information concerning a
21         consumer.
22   15 U.S.C. § 1692e(10).
23         110. Defendant mailed to Plaintiff two communications, one dated October
24
     4, 2017 and the other October 5, 2017, that included identical demands for payment
25
                                   Plaintiff’s Class Action Complaint
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26
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1    of $65,262.58 “plus any payments, late charges, fees, insurance advances, or
2
     delinquent taxes due” “within 30 days from the date of th[e] notice[s].” See Exs. A,
3
     B.
4
           111. Defendant’s letters went on to state, “Partial payments are not
5

6    acceptable.” See Exs. A, B.

7          112. Because Defendant’s communications to Plaintiff failed to further
8    explain any such payments, charges, fees, advances, or taxes allegedly owed—let
9
     alone provide any sort of accounting for their amounts—the letters leave the least
10
     sophisticated consumer to guess as to what is actually owed on the alleged debt
11

12
     Defendant sought to collect.

13         113. Thus, Defendant’s communications used false representations or

14   deceptive means to collect or attempt to collect Plaintiff’s alleged debt.
15
           114. As a result, Defendant violated 15 U.S.C. § 1692e(10).
16
           115. The harm suffered by Plaintiff is particularized in that the violative debt
17
     collection letters at issue were sent to her personally, regarded her personal alleged
18

19   debt, and used false and deceptive means to attempt to collect her own alleged debt.

20         116. Likewise, Defendant’s actions created a concrete harm in that they
21
     constituted a debt collection practice that Congress prohibited because such practice
22
     is likely to mislead consumers. In addition, Defendant’s actions invaded a specific
23

24

25
                                    Plaintiff’s Class Action Complaint
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26
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1    private right created by Congress, and the invasion of said right creates the risk of
2
     real harm.
3
                                         Count VII
4                              Violation of 15 U.S.C. § 1692f
5          117. Plaintiff incorporates the factual allegations contained in paragraphs 1
6
     through 65 above.
7
           118. The FDCPA at section 1692f provides: “A debt collector may not use
8
     unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C.
9

10   § 1692f.

11         119. Defendant mailed to Plaintiff two communications, one dated October
12   4, 2017 and the other October 5, 2017, that included identical demands for payment
13
     of $65,262.58 “plus any payments, late charges, fees, insurance advances, or
14
     delinquent taxes due” “within 30 days from the date of th[e] notice[s].” See Exs. A,
15

16
     B.

17         120. Defendant’s letters went on to state, “Partial payments are not

18   acceptable.” See Exs. A, B.
19
           121. Because Defendant’s communications to Plaintiff failed to further
20
     explain any such payments, charges, fees, advances, or taxes allegedly owed—let
21
     alone provide any sort of accounting for their amounts—the letters leave the least
22

23   sophisticated consumer to guess as to what is actually owed on the alleged debt

24   Defendant sought to collect.
25
                                    Plaintiff’s Class Action Complaint
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26
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1            122. Thus, Defendant’s communications used unfair and unconscionable
2
     means to collect or attempt to collect Plaintiff’s alleged debt.
3
             123. As a result, Defendant violated 15 U.S.C. § 1692f.
4
             124. The harm suffered by Plaintiff is particularized in that the violative debt
5

6    collection letters at issue were sent to her personally, regarded her personal alleged

7    debt, and used unfair and unconscionable means to attempt to collect her own alleged
8    debt.
9
             125. Likewise, Defendant’s actions created a concrete harm in that they
10
     constituted a debt collection practice that Congress prohibited because such practice
11

12
     is likely to mislead consumers. In addition, Defendant’s actions invaded a specific

13   private right created by Congress, and the invasion of said right creates the risk of

14   real harm.
15
                                          Count VIII
16                           Violation of Cal. Civ. Code § 1788.17

17           126. Plaintiff incorporates the factual allegations contained in paragraphs 1

18   through 65 above.
19
             127. The Rosenthal Act at Section 1788.17 provides:
20
                Notwithstanding any other provision of this title, every debt
21              collector collecting or attempting to collect a consumer debt shall
                comply with the provisions of Sections 1692b to 1692j,
22
                inclusive, of, and shall be subject to the remedies in Section
23              1692k of, Title 15 of the United States Code.

24   Cal. Civ. Code § 1788.17.
25
                                    Plaintiff’s Class Action Complaint
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26
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1
           128. Defendant violated Cal. Civ. Code § 1788.17 by virtue of its violations
2

3    of the FDCPA, as described above.

4                                         Trial by Jury
5
           129. Plaintiff requests a trial by jury.
6
           WHEREFORE, Plaintiff prays for relief and judgment as follows:
7
              a) Determining that this action is a proper class action under Rule 23 of
8

9                the Federal Rules of Civil Procedure;

10            b) Certifying Plaintiff as a class representative;
11            c) Appointing Plaintiff’s counsel as class counsel;
12
              d) Adjudging and declaring that Defendant violated 15 U.S.C. §
13
                 1692g(a)(3), 15 U.S.C. § 1692g(a)(4), 15 U.S.C. § 1692g(a)(5), 15
14
                 U.S.C. § 1692e(5), 15 U.S.C. § 1692e(2)(A), 15 U.S.C. § 1692e(10),
15

16               15 U.S.C. § 1692f, and Cal. Civ. Code § 1788.17;

17            e) Awarding Plaintiff and members of the proposed classes statutory
18
                 damages pursuant to 15 U.S.C. § 1692k;
19
              f) Awarding members of the proposed classes actual damages, as
20
                 necessary, pursuant to 15 U.S.C. § 1692k;
21

22            g) Awarding Plaintiff and members of the proposed classes reasonable

23               attorneys’ fees, costs, and expenses incurred in this action, including
24

25
                                   Plaintiff’s Class Action Complaint
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26
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1                expert fees, pursuant to 15 U.S.C. § 1692k and Rule 23 of the Federal
2
                 Rules of Civil Procedure;
3
              h) Awarding Plaintiff and members of the proposed classes any pre-
4
                 judgment and post-judgment interest as may be allowed under the law;
5

6                and

7             i) Awarding other and further relief as this Court may deem just and
8                proper.
9

10   Dated: December 7, 2017                 Respectfully submitted,
11                                           /s/ Todd M. Friedman
12
                                             Todd M. Friedman (SBN 216752)
                                             Law Offices of Todd M. Friedman, P.C
13
                                             Jesse S. Johnson (pro hac vice application to
14                                           follow)
                                             Greenwald Davidson Radbil PLLC
15

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25
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